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Dated: March 28, 2019
The following is ORDERED:




                                           Tom R. Cornish
                                           U.S. Bankruptcy Judge
 __________________________________________________________________



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
ALEXANDER LOUIS BEDNAR                               Case No. 15-11916-TRC
                                                     Chapter 7

                              Debtor.

ALEXANDER L. BEDNAR,

                              Plaintiff,

vs.                                                  Adv. No. 18-01096-TRC

FRANKLIN AMERICAN MORTGAGE
COMPANY, FEDERAL NATIONAL
MORTGAGE ASSOCIATION,
OKLAHOMA COUNTY SHERIFF,
AND RCB BANK,

                              Defendants.


                   ORDER AND NOTICE OF TELEPHONIC HEARING

       Before the Court is the Request for Expedited Hearing Regarding Application for Stay

Pending Appeal filed by the Plaintiff on March 26, 2019 requesting a hearing prior to April 5, 2019
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(Docket Entry 66). Defendants Federal National Mortgage Association and Franklin American

Mortgage Company filed a Response and Objection thereto (Docket Entry 67) stating that their

counsel is unavailable during the time requested by Plaintiff. Plaintiff has also filed two Motions

to Seal (Docket Entries 63 and 65) and a Motion for Stay, Preliminary Injunction and Sanctions

against Fannie Mae and Franklin American (Docket Entry 62). After review of the Request for

Expedited Hearing and Defendants’ Objection, this Court finds that a telephonic hearing on the

Motions to Seal and Motion for Stay should be held April 12, 2019. Any objections or responses

to these motions shall also be heard at that time. The Request for expedited hearing in denied.

       IT IS THEREFORE ORDERED that a Telephonic Hearing is hereby set on Friday, April

12, 2019, at 9:00 a.m.       Parties are directed to use the conference call-in number:

888-684-8852; access code: 8488521; security code 1347.

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